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                                              October 17, 2024
     Via CM/ECF
     Hon. Jamel K. Semper, U.S.D.J.
     Hon. Cathy L. Waldor, U.S.M.J.
     Dr. Martin Luther King Justice Building
     470 Dr. Martin Luther King Jr. Blvd.
     Newark, NJ 07102

     Re:     Christopher Curtis Bellinger III v. The City of Perth Amboy, et al.
             Docket No.: 24-CV-8442

     Dear Your Honors:
             As you are aware, this firm represents the Defendants in this civil action. Please
     accept this letter as Defendants’ request, pursuant to L.CIV.R. 7.2(b), for permission to file
     an overlength brief in support of Defendants’ Motion to Dismiss the Verified Complaint. We
     respectfully submit that special permission is warranted in this case.
             Plaintiff’s Verified Complaint comprises 44 pages of pleading, to which 52 pages of
     exhibits are appended. [See Dkt. 1 through 1-16]. It states 10 federal and 6 state-law causes
     of action, invoking the Second, Fourth, Fifth, Sixth, Eighth, and Fourteenth Amendments to
     the U.S. Constitution, as well as common-law and statutory claims.
             Despite our best efforts to conform to the Rule’s 30-page limit, Defendants require
     approximately ten additional pages—for a total of 40 pages—to sufficiently set forth
     Defendants’ arguments in support of their RULE 12(b)(6) motion. Happily, since this firm
     represents all named Defendants, this will be the only opening brief the Court will have to
     consider. We have sought the consent of Plaintiff’s Counsel; with our papers being due on
     Friday, October 18, 2024, we are submitting this letter while we await their response.
             Should Your Honors approve, please “so order” below. Thank you very much.
                                                      Respectfully Submitted,
                                                      MURPHY ORLANDO LLC
                                                      /s/ John W. Bartlett
                                                      John W. Bartlett, Esq.
     cc:     All Counsel of Record (via ECF)
        SO ORDERED. Defendants may file an overlength brief of up to 40 pages in length.


                                                                                      , U.S. .J.
